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                                                              ChiefU ,S.D istrictJudge
             D efendant.

       It appearing that the magistrate judge has submitted a report and
  recomm endation that the defendant's guilty plea be accepted; and it further

  appearingthatnoobjectionshavebeenfiledtosaidreportandrecommendation;and
  it appearing proper, it is O RD ER ED that said report and the findings and

 recom m endation contained therein are hereby accepted in w hole and the defendant

 willbeadjudged guilty ofeachoffensetowhichthedefendantenteredaguiltyplea.
 A cceptanceoftheplea agreem entisdeferred,pending completion ofapresentence

 report.

       The Clerk is directed to send certified copiesofthis O rderto allparties.

                                             EN TER : M ay 21,2013


                                             ChiefU nited StatesD istrictJudge
